           Case 2:06-cr-00495-MCE Document 67 Filed 02/27/09 Page 1 of 2


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4
     Attorney for Defendant
5    Janelle Miller

6                     IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. Cr.S 06-495 MCE
                                       )
10              Plaintiff,             )   STIPULATION AND ORDER MODIFYING
                                       )   CONDITIONS OF RELEASE
11        vs.                          )
                                       )   ORDER
12   JANELLE MILLER                    )
                                       )
13                                     )
                Defendant              )
14                                     )

15
          IT IS HEREBY STIPULATED AND AGREED by the parties through
16
     their respective attorneys that Janelle Miller, defendant herein
17
     may be released from the custody of the United States Marshall’s
18

19
     on February 27, 2009, to the The Effort, 1550 Juliesse Ave.

20   Sacramento 95815. The Effort is a 90 day treatment program and

21   electronic monitoring is to be re-imposed following her

22   completion of the program.

23        The arrangements for Ms. Millers housing there have been
24   made by pre-trial services officer Steve Sheehan.
25




                                        -1-
           Case 2:06-cr-00495-MCE Document 67 Filed 02/27/09 Page 2 of 2


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3
     IT IS SO STIPULATED
4

5
     /S/ JASON HITT
6    Jason Hitt, Esq.,                            Dated: February 27, 2009
     Assistant United States Attorney
7    Attorney for Plaintiff

8

9

10
     /S/Michael B. Bigelow                        Dated: February 27, 2009
11
     Michael B. Bigelow
12
     Attorney for Defendant

13

14

15
                                      ORDER
16

17        IT IS ORDERED that pursuant to stipulation and for good
18
     cause shown the conditions of release for requiring electronic
19
     monitoring be removed.
20

21
       Date: February 27, 2009
22

23

24

25




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